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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

      Civil Action No. 05-cv-02467-EWN-KLM

      MOHAMMED SALEH,

            Plaintiff,

      v.

      FEDERAL BUREAU OF PRISONS,
      MICHAEL MUKASEY, HARLEY LAPPIN,
      JOYCE K. CONLEY, MICHAEL NALLEY,
      RON WILEY, and MICHAEL MERRILL,
      sued in their official capactities

            Defendants.


      Civil Action No. 06-cv-01747-EWN-KLM

      EL SAYYID A. NOSAIR,

            Plaintiff,

      v.

      FEDERAL BUREAU OF PRISONS,
      MICHAEL MUKASEY, HARLEY LAPPIN,
      JOYCE K. CONLEY, MICHAEL NALLEY,
      RON WILEY, and MICHAEL MERRILL,
      sued in their official capacities,

            Defendants.


      Civil Action No. 07-cv-00021-EWN-KLM

      IBRAHIM ELGABROWNY,

            Plaintiff,

      v.

      FEDERAL BUREAU OF PRISONS,

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      MICHAEL MUKASEY, HARLEY LAPPIN,
      JOYCE K. CONLEY, MICHAEL NALLEY,
      RON WILEY, and MICHAEL MERRILL,
      sued in their official capacities,

              Defendants.


                       FIRST AMENDED CONSOLIDATED COMPLAINT


                                               Introduction

              Plaintiffs Mohammed Saleh, El Sayyid Nosair, and Ibrahim Elgabrowny, who are

      incarcerated at the Administrative Maximum Security Prison (“ADX”) in Florence,

      Colorado, by their attorneys, the Student Law Office, University of Denver Sturm

      College of Law, submit their first consolidated complaint for violations of the First, Fifth,

      and Eighth Amendments to the United States Constitution, and the Religious Freedom

      Restoration Act (RFRA).

                                         Jurisdiction and Venue

      1   This Court possesses subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331,

          1343(a)(4), 1346, 2201, and 2202.

      2   Venue is proper within this district pursuant to 28 U.S.C. § 1391 as the majority of

          the Defendants reside here and the majority of the events giving rise to Plaintiffs’

          claims occurred in this judicial district.

                                                  Parties

      3   Plaintiff MOHAMMED SALEH is a prisoner in the custody of the United States

          Federal Bureau of Prisons, who has been continuously confined in ADX since

          February 2003.

      4   Plaintiff EL-SAYYID NOSAIR is a prisoner in the custody of the United States

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          Federal Bureau of Prisons, who has been continuously confined in ADX since

          September of 2002.

      5   Plaintiff IBRAHIM ELGABROWNY is a federal prisoner in the custody of the

          United States Bureau of Prisons, who has been continuously confined in ADX since

          August 2, 2002.

      6   Defendant FEDERAL BUREAU OF PRISONS (“BOP”) is an agency of the United

          States charged with the confinement of prisoners in federal prison facilities.

      7   Defendant MICHAEL MUKASEY is the Attorney General of the United States. He

          serves as the chief law enforcement officer for the federal government, and is charged

          with ensuring public safety against threats foreign and domestic, and administering a

          fair system of federal justice. The Attorney General is the person who is ultimate in

          charge of the Bureau of Prisons.

      8   Defendant HARLEY LAPPIN is the Director of the BOP. At all relevant times

          Defendant Lappin had decision making authority regarding transfer and placement of

          prisoners in prisons operated by the BOP, such as ADX - Florence.

      9   Defendant JOYCE K. CONLEY is the Assistant Director for the Correctional

          Programs Division of the BOP. At all relevant times, Defendant Conley had the

          authority for administering national policies in the BOP, and administering

          educational programs, psychological services, and religious services in the BOP.

      10 Defendant MICHAEL NALLEY is BOP Regional Director for the North Central

          Region.   At all relevant times Defendant Nalley had decision making authority

          regarding transfer and placement of prisoners in prisons operated by the BOP within

          the North Central Region, an area that includes Florence, Colorado.



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      11 Defendant RON WILEY is the Warden of ADX. Defendant Wiley, as Warden, at all

         relevant times was responsible for the administration, operation, maintenance,

         policies, procedures and functions at ADX Florence, including decisions regarding an

         inmate’s ability to participate in the step-down program and placement in a less

         restrictive unit, the ability of prisoners to practice their religious faith and the amount

         and type of exercise opportunities that a prisoner receives.

      12 Defendant MICHAEL MERRILL is the Chaplain at ADX, responsible for managing

         the Religious Services Department at ADX, including all matters relating to the

         accommodation of prisoners’ religious needs and activities.

      13 Defendants Mukasey, Lappin, Nalley, Conley, Wiley, and Merrill are sued in their

         official capacities as employees or agents of the United States acting under color of

         federal law.

                                          Statement of Facts

      14 Presently, all Plaintiffs are all incarcerated in segregation at the United States

         Penitentiary -Administrative Maximum, in Florence, Colorado (ADX).

      15 On September 11, 2001, then-Attorney General John Ashcroft directed Defendant

         BOP to remove all inmates who had previous to that day been designated as terrorists

         from general population and placed in administrative segregation until they could be

         investigated to determine whether they had any ties or prior knowledge of the events

         of that day.

      16 In compliance with the directive of then-Attorney General, Defendant Lappin issued

         the order that all inmates who had been designated as terrorists, such as the Plaintiffs,

         be placed in administrative segregation so that the investigations could be carried out.



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      17 This directive by then-Attorney General and Defendant Lappin was implemented by

         Defendants Conley and Nalley in relation to the Plaintiffs, as well as other agents of

         the BOP in the institutions where Plaintiffs were confined.

      18 Plaintiffs were removed from general population at the respective prisons in which

         they were confined on September 11, 2001 and were placed in administrative

         segregation pending an investigation.

      19 Prior to September 11, 2001, on information and belief, Plaintiffs had been assigned

         to their respective prisons’ general populations based on positive evaluations

         conducted by prison officials according to prison regulations.

      20 Based upon prison policy, an assignment to a prison’s general population requires a

         prisoner to demonstrate positive personal behavior and that he has received no prison

         disciplinary actions.

      21 Prior to their being removed from general population and placed in administrative

         segregation on September 11, 2001 and then being placed in segregation at ADX,

         each Plaintiff had a clear conduct record.

      22 While confined in segregation, Plaintiffs were treated in the same manner as they

         have been since being confined in segregation at ADX, such as being fed all meals

         along in their cells, being placed in belly chains and leg irons any time they are

         removed from their cells, exercising individually in cages, etc.     See infra for a

         description of how the Plaintiffs have been treated at ADX while confined in general

         population.




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      23 On March 28, 2002, the United States Department of Justice issued a memorandum to

         “all regional directors regarding the handling of ‘Pre-September 11th Terrorist

         Inmates.”

      24 On information and belief, both Defendants Lappin and Conley were involved in the

         creation of this memorandum and its implementation.

      25 This memorandum stated that “[f]ollowing the terrorist events of September 11, 2002,

         inmates with possible knowledge of terrorist events or ties were placed in

         Administrative Detention until their cases would be thoroughly reviewed.”

      26 This memorandum went on to state that certain prisoners “are appropriate for transfer

         to [ADX], and in fact, most have already been referred for such transfer.” It directed

         the regional directors to “review a list of inmate names to determine whether they

         concur with the placement of such inmates at ADX.”

      27 Plaintiffs were not informed of the reasons for their removal from general population

         nor for their transfers to ADX and placement in segregation housing units, which are

         referred to by ADX as general population units.

      28 These general population units at ADX did not provide the Plaintiffs the same rights

         and privileges as they had when they were confined in general population prior to

         September 11, 2001.

      29 Defendants calling the cells that Plaintiffs were confined in at ADX general

         population instead of segregation is similar to the Defendants calling a dove a turkey.

         Or a grape an apple. No matter how Defendants try to spruce up the name of the

         ADX’s cells, they are still segregation cells.




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      30 It was not until the first part of 2007 that the Plaintiffs became aware that their

         removals from general population and placement into segregation and then into

         segregation at ADX was based upon their original convictions and their ethnicity.

      31 In the first part of 2007, each of the Plaintiffs became aware of the decision in Ajaj v.

         U.S., 2206 WL 3797871 (D. Colo. 2006), where the Hon. Marcia S. Krieger

         referenced the above memorandum.

      32 As of the filing of this First Amended Consolidated Complaint, neither Defendants

         nor their agents have informed the Plaintiffs that the basis for their removals from

         general population, placements in segregation and then transfers to segregation at

         ADX was the attack of September 11, 2001, and Defendants’ belief that Plaintiffs

         have a connection to terrorisms.

      33 Plaintiffs were never informed of the result of the investigations that were the basis of

         their removals from general population and placements in administrative segregation,

         which conditions imposed an atypical and significant hardship in comparison to

         ordinary prison life of general population at their respective prisons.

      34 In late 2002 or early 2003, each of the Plaintiffs was transferred to segregation at

         ADX – Florence.

      35 On information and belief, during confinement in administrative segregation prior to

         their placements in segregation at ADX, none of the Plaintiffs demonstrated an

         inability to function in a less restrictive environment without being a threat to others

         or to the secure and orderly operation of the institution, or engaged in disruptive or

         assaultive behavior.

      36 At the time of their transfers to segregation at ADX, none of the Plaintiffs were told



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         the reasons for their transfers to ADX.

      37 Plaintiffs were not given notice, or informed of the reasons for their being placed in

         segregation and transfer to segregation at ADX, nor were they providing hearings or

         other opportunities to challenge such placements.

      38 Plaintiffs did not meet the criteria for placement in segregation at ADX, such as being

         predatory or dangerous towards other inmates, staff or the public.

      39 Until recently, Plaintiffs were not aware of the basis for their placements in

         segregation and transfers to segregation at ADX but assumed that it was related to

         their criminal convictions.

      40 Based upon their conduct since being confined, Plaintiffs knew that their placements

         in segregation and transfers to segregation at ADX could not be due to their failure to

         get along with other inmates and prison staff, or for assaultive behavior.

      41 These segregation placements were not based upon any new information that

         demonstrated an inability of the Plaintiffs to function in a less restrictive environment

         without being a threat to others or to the secure and orderly operation of the

         institution or for engaging in disruptive or assaultive behavior.

      42 Once they arrived at ADX, Plaintiffs were then placed in so-called “general

         population” units within the administrative segregation complex.

      43 Once they arrived at ADX, Plaintiffs were treated by prison staff as if they were sent

         to ADX for being assaultive or disruptive prisoners.

      44 Plaintiffs were assigned to segregation units, which were the beginning of the Step-

         Down Unit program, even though Plaintiffs were not placed in ADX for being

         assaultive or disruptive prisoners.



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      45 According to BOP’s Program Statement P5100.08, ADX’s “general population” units

         are designed for male inmates who have demonstrated an inability to function in a

         less restrictive environment without being a threat to others or to the secure and

         orderly operation of the institution.” Ch. 7, at 17.

      46 Additionally, ADX is intended for those “[i]nmates with severe or chronic behavior

         problems that cannot be addressed in any other Bureau institution should be referred

         to ADX Florence general population, and those who are somewhat less problematic

         should be referred to USP Marion. In describing the reasons underlying the referral,

         the Warden should explain why he or she has selected Marion or ADX Florence,

         respectively.” P5100.8, Ch. 7, at 18.

      47 The conditions in general population (segregation) at ADX consists of Plaintiffs

         being confined to their individual cells for up to 23 hours a day for at least five days a

         week and the other two days being confined 24 hours a day.

      48 Prior to Plaintiffs confinements in segregation pending investigations and then

         placements in segregation at ADX, they were confined to their cells for a maximum

         of 12 hours a day.

      49 One of the conditions in “general population” at ADX consists of the Plaintiffs being

         fed their meals alone in their cells.

      50 Prior to Plaintiffs being confined in segregation and then placed in segregation at

         ADX, Plaintiffs went to the chow hall to eat, in the company of other inmates, if they

         desired.

      51 The conditions in general population at ADX require that when a Plaintiff is removed

         from his cell, that he be placed in belly chains and leg irons.



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      52 Prior to being confined in segregation and then placed in segregation at ADX,

         Plaintiffs were able to come and go from their cells without being placed in restraints.

      53 The conditions in “general population” (segregation) at ADX state that Plaintiffs are

         to be provided out-of-cell exercise five days a week. Due to staff shortages, however,

         Plaintiffs usually were given only two hours of exercise a week in a small cage, by

         themselves, with little if any exercise equipment provided. For a two-month period,

         they were not allowed any outdoor exercise.

      54 Prior to being confined in segregation and then being placed in segregation at ADX,

         Plaintiffs were able to engage in unlimited exercise, if desired, seven days a week in a

         huge yard area, with access to many different kinds of exercise equipment, and were

         allowed to exercise with other prisoners.

      55 The conditions in “general population” (segregation) at ADX do not allow the

         Plaintiffs to hold jobs in jobs for UNICOR, but a few of the inmates in the housing

         unit may be able to have orderly jobs.

      56 Prior to placement in segregation and then being placed in segregation at ADX, each

         Plaintiff held jobs in his respective prisons.

      57 The conditions in ADX provide for almost no human contact for each Plaintiff except

         when staff are feeding them in their cells or escorting them out of their cells.

      58 Prior to placements in segregation and then being placed in segregation at ADX, each

         Plaintiff was in regular general population and had daily contact with other inmates

         and staff for approximately 12 hours or more a day.

      59 The conditions in segregation at ADX provide that inmates are not to converse with

         each other through their cell doors or other means.



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      60 Prior to placement in segregation and then in segregation at ADX, Plaintiffs were in

         regular general population and were not limited in the conversations that they were

         allowed to have.

      61 The conditions as described in paragraphs 47, 49, 51, 53, 55, 57 and 59 are the same

         conditions Plaintiffs were subjected to when confined in segregation in their

         respective institutions pending investigations.

      62 The conditions that Plaintiffs have been subjected to while confined in segregation

         and then in segregation at ADX imposed an atypical and significant hardship in

         relation to the ordinary incidents of prison life, and have worked and continue to

         work major disruptions in Plaintiffs’ environments.

      63 In determining the length of time Plaintiffs have been confined under conditions

         imposing an atypical and significant hardship in relation to the ordinary incidents of

         prison life, this Court is to aggregate the conditions of confinement in segregation at

         their respective institutions and in segregation at ADX.

      64 As of the filing of this amended consolidated complaint, each of the Plaintiffs has

         been confined in segregation or ADX for over six years, or more than 2190 days.

         This calculation is based upon Plaintiffs being confined in segregation since

         September 11, 2001.

      65 Since September 11, 2001, Plaintiffs have continuously been confined in segregation.

         This continuous confinement in segregation for over six years, by itself, creates an

         atypical hardship.

      66 Each of the Plaintiffs is eligible for parole in the future. Their continued confinement

         in ADX will adversely affect their parole consideration.



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      67 Plaintiff Saleh’s earliest release date is in 2024. Plaintiff Nosair has a life sentence.

         Plaintiff Elgabrowny;s release date is 2021.

      68 On information and belief, Plaintiffs’ confinements in segregation at ADX are likely

         to impact on the decision to release them.

      69 On information and belief, there are inmates who have been confined in ADX since it

         was opened in 1995.

      70 Plaintiffs’ confinements in ADX is indefinite, in that, a Plaintiff cannot be released

         from ADX until he has demonstrated that he can be managed in a regular prison

         setting.

      71 According to ADX’s mission statement, prisoners are eligible to transfer out of ADX

         if they can progress through the Step-Down Program.

      72 The following are the several factors that ADX’s policy requires consideration of

         before an inmate can “step down,” or progress, to a new housing assignment:

         (a) whether the inmate has actively participated in and completed programs
             recommended by his unit team;

         (b) the inmate's overall institutional adjustment, personal hygiene, and cell sanitation;

         (c) the inmate's interaction with staff; and

         (d) whether the factors which led to placement in ADX have been successfully
         mitigated.

      73 Since Plaintiffs were not placed in ADX for any factors within their control, such as

         being assaultive or disruptive, Plaintiffs are not able to demonstrate that the reasons

         for ADX placement have been mitigated.

      74 Further, since they have never been told why they were placed in segregation and

         then in segregation at ADX, Plaintiffs have not been able to challenge their removal



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         from general population for their continued confinements in segregation since

         September 11, 2001.

      75 Even when confined in general population prior to September 11, 2001, Plaintiffs

         each met criteria 1-3, listed in paragraph 72.

      76 Since Plaintiffs were not originally placed in ADX for being assaultive or disruptive,

         Plaintiffs have never been informed by Defendants or their agents how they can

         demonstrate improved behavior and the ability and motivation to reintegrate into an

         open population prison so that they can earn their way out of ADX.

      77 Even though Plaintiffs were placed into ADX contrary to its own policies, Plaintiffs

         have complied with all of the above requirements for Step-Down with the exception

         of criterion four.

      78 Plaintiff Nosair has not been placed in Step-Down as of the filing of this First

         Amended Consolidated Complaint.

      79 During their confinements in segregation and ADX, Plaintiffs have not acted in any

         way that would suggest that they are security risks.

      80 During their confinements in segregation and ADX, each Plaintiff has demonstrated

         good behavior and the ability and motivation to reintegrate into an open population

         setting and eventually transfer into a general population prison.

      81 Plaintiff Elgabrowny has been incarcerated in ADX since August 2, 2002, and was

         not placed in the first-level of the Step-Down Unit program until July 19, 2007.

      82 On information and belief, Defendants had Plaintiff Elgabrowny placed in the Step-

         Down Unit Program with the intent to moot his claim in this lawsuit as to his

         placement and continued confinement in ADX.



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      83 Plaintiff Saleh has been incarcerated in ADX since February, 2003, and was not

         placed in the first-level of the Step Down program until April 17, 2007.

      84 On information and belief, Defendants had Plaintiff Saleh placed in the Step-Down

         Unit Program with the intent to moot his claim in this lawsuit as to his placement and

         continued confinement in ADX.

      85 Plaintiff Nosair has been incarcerated in ADX since September, 2002, and has yet to

         be placed in the first-level of the Step Down program even though his behavior has

         been similar to Plaintiffs Elgabrowny and Saleh.

      86 During their annual review for the Step-Down Unit Program, Plaintiffs were not

         afforded notices or hearings before being denied the opportunity to advance to the

         next level of the Step-Down Unit Program.

      87 When Plaintiffs were given notice that they were denied for step-down, the only

         reason provided for denial was that “it is believed your reason for placement at the

         ADX has not been sufficiently mitigated.”

      88 It is impossible for Plaintiffs to challenge the denial of step-down when they were

         never told the basis for placements in segregation and then ADX.

      89 If it is true that Plaintiffs were placed in segregation and then ADX due to their

         ethnicities, or their prior convictions, their liberty interests have been denied since

         these are circumstances that Plaintiffs cannot change nor mitigate.

      90 The confinement of Plaintiffs in segregation and then ADX does not relate to nor

         further any penological interests that were not already being served by their

         confinement in general population prisons prior to September 11, 2001.

      91 The conditions of confinement that Plaintiffs have been subjected to are extreme



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         when compared to the conditions that they were subjected to when confined in

         general population prisons prior to September 11, 2001.

      92 Plaintiffs’ placements in segregation for over six years is indefinite, and even though

         two of the Plaintiffs have been placed in the first phase of the Step-Down Unit

         program, they continue to suffer a violation of their liberty interests since they were

         not given due process prior to such placement in ADX or into the Step-Down Unit

         program.

      93 Plaintiffs’ placements in segregation will adversely affect their abilities to achieve

         release on parole when they are eligible.

      94 On information and belief, there are no other prisoners who have been placed in

         indefinite segregation based on either their ethnicities or the nature of their

         convictions.

      95 On information and belief, there are no other prisoners who have been placed in a

         behavior modification program, such as the Step-Down Unit Program, based either on

         their ethnicities or their criminal convictions.

      96 Even though two of them Plaintiffs have been placed in the Step-Down Unit Program,

         their claims of violations of their liberty interests to due process continue since they

         are still confined at ADX.

      97 It is Plaintiffs’ contention that if they had been given notice, an opportunity to

         comment, and a decision to appeal, if necessary, that they could have challenged such

         indefinite confinements in segregation, which includes the Step-Down Unit Program.

         In other words, they would not be in the Step-Down Unit Program if their

         constitutional rights had not been violated when they were placed in ADX.



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      98 BOP Program Statement P5360.09 states that all federal prisons will “provide inmates

            of all faith groups with reasonable and equitable opportunities to pursue religious

            beliefs and practices.”

      99 Each of the Plaintiffs has a sincerely held belief in the religion of Islam.

      100      An Islamic religious spiritual leader, an imam, is brought into the prison

            approximately two to three times a year.

      101      For the past couple of years the Defendants have promised to provide an imam on

            a more regular basis but have failed to do so.

      102      Providing access to an imam at the current rate is not adequate access to spiritual

            guidance.

      103      A Muslim’s ability to have a private spiritual consultation with his imam is an

         essential tenet of Islam.

      104      Plaintiffs’ visits with an imam are always observed and subjected to auditory

         monitoring by an interpreter from ADX’s Special Investigative Services (SIS), the

            Chaplain’s Assistant, and/or FBI Agent David Johnson.

      105      Prisoners of other religions confined at ADX are not subject to the same

         observation and auditory monitoring as the Plaintiffs.

      106      The prayer of Azan is a central tenet of the Plaintiffs’ ability to express adherence

         to their faith, Islam.

      107      Plaintiffs are not afforded adequate opportunities to perform the prayer of Azan,

         as known as the “call to prayer.”

      108      The inability to freely perform Azan significantly constrains the Plaintiffs from

         engaging in an activity that is fundamental to their religion.



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      109       Azan does not interfere with the good order and security of the prison.

            Defendants and their agents have repeatedly reprimanded each of the Plaintiffs and

            threatened them with disciplinary infractions for performing Azan.

      110       For a period of time, the Unit Manager of Delta Unit, “FNU” Sudlow, prohibited

            Azan all together.

      111       Defendants have forbidden Plaintiffs from performing Jumu'ah, the mandatory

            congregate Muslim prayer.

      112       Jumu’ah is an important tenet of Islam and must be performed every Friday.

      113       Plaintiffs do not receive an Islamic halal diet, which is a central tenet of Plaintiffs’

            faith.

      114       Instead, the prison only affords Muslim prisoners such as these Plaintiffs, a kosher

            diet, which is prepared specifically for the Jewish faith.

      115       There are significant differences between the halal and kosher diets: a different

            prayer is recited while slaughtering animals for meat; kosher food is often cooked

            with gelatin and wine, which is prohibited under Islam; moreover, animal fat is often

            used in kosher diets, which is forbidden by Islam.

      116       Defendants have denied Plaintiffs access to books relating to Islam.

      117       These books are essential to interpreting Islam, as is dictated by the paramount

            text of the Islamic faith, the Q’uran.

      118       The denial of access to these books is the result of an exaggerated response to the

            good order and security of the prison.

      119       Defendants have prohibited Plaintiffs from accessing on TV any religious

            programming in Arabic due to an exaggerated response to the good order and security



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            of the prison.

      120       The Equal Protection clause of the Fifth Amendment of the United States

            Constitution requires that similarly situated persons be treated equally.

      121       BOP Program Statement P5360.09 states that all federal prisons “provide inmates

            of all faith groups with reasonable and equitable opportunities to pursue religious

            beliefs and practices.”

      122       Each of the Plaintiffs has a sincerely held belief in the religion of Islam.

      123       An Islamic religious spiritual leader, an imam, is brought into the prison

            approximately two to three times a year.

      124       A full-time chaplain is employed at ADX for Christian prisoners to confer with on

            a weekly, if not daily, basis.

      125       On the rare occasions that an imam is available, Plaintiffs cannot have a private

            religious consultation such as is afforded Christian prisoners.

      126       A Muslim’s ability to have a private spiritual consultation with his imam is an

            essential tenet of Islam.

      127       Plaintiffs’ visits with an imam are always observed and subjected to auditory

            monitoring by an interpreter from Special Investigative Services (SIS), the Chaplain’s

            Assistant, and/or FBI Agent David Johnson.

      128       On the rare occasions that an imam is available, Plaintiffs are often required to

            leave their cells in order to speak with the imam while placed in belly chains and leg

            irons.

      129       Prisoners of other religious faiths, such as Christians and Jews, can consult with

            religious leaders in their cells, free of handcuffs and restraints.



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      130    Christian prisoners on the Delta Unit are given privacy when speaking with their

         religious leaders.

      131    Plaintiffs are not given privacy when speaking with their religious leaders.

      132    Plaintiffs do not receive an Islamic halal diet, which is a central tenet of Plaintiffs’

         faith.

      133    Jewish prisoners in ADX are served a kosher diet upon request.

      134    Non-Muslims had access to a variety of religious texts until a system-wide purge

         in February of 2007.

      135    Plaintiffs had been denied Islamic texts long before the system-wide purge started

         this year.

      136    These books are essential to interpreting Islam, as is dictated by the paramount

         text of the Islamic faith, the Q’uran.

      137    Non-Muslims have access to closed-circuit religious programming in their native

         languages.

      138    Defendants have prohibited Plaintiffs from accessing religious programming in

         Arabic.

      139    Defendants have prohibited Plaintiffs from accessing religious programming in

         Arabic.

      140    The Eighth Amendment to the United States Constitution prohibits cruel and

         unusual punishment.

      141    Plaintiffs have been subjected to extreme solitary confinement and reduced

         environmental stimulation within their respective prisons segregation units and within




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         the segregation units at ADX for over six years since September 11, 2001, without

         hope of release into a general population unit.

      142    The denial of advancement to and through the Step-Down Unit program was done

         in an arbitrary and capricious manner.

      143    Conditions at ADX are more restrictive than any other form of incarceration

         within the BOP system.

      144    At ADX, Plaintiffs are confined to 8’ x 12’ concrete cells for at least 23 hours a

         day.

      145    Defendants discourage Plaintiffs from verbal contact with other prisoners;

         Plaintiffs’ cells are structured to curtail conversations between fellow prisoners.

         Moreover, Plaintiffs must exercise by themselves as well as take their meals alone in

         their cells.

      146    These conditions deprive Plaintiffs of access to direct sunlight or natural light and

         adequate exercise.

      147    Defendants limit Plaintiffs’ opportunities to contact the outside world to two 15

         minute telephone calls with an immediate family member per month and one brief

         non-contact social visit a month with an immediate family member separated by a

         thick piece of glass and through a telephone.

      148    Due to the distances that the family members of the Plaintiffs must travel, they

         seldom, if ever, have visits or telephone calls.

      149    Any time Plaintiffs are transported out of their cells they are subjected to extreme

         physical discomfort: they are subjected to an invasive strip search, they are not only

         handcuffed, but also shackled to chains protruding from a black box suspended by a



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            chain wrapped around their stomach, and they are shackled at the ankles.

      150       Following each transport, Plaintiffs are strip-searched again.

      151       Despite the severe psychological damage that can arise from these conditions,

            Defendants restrict Plaintiffs’ access to mental health care to impersonal sessions

            conducted via television through a closed circuit signal.

      152       The deliberate indifference of Defendants has resulted in Plaintiffs suffering

            deprivations that cause mental harms that go beyond the boundaries of what most

            human beings can psychologically tolerate.

      153       Plaintiffs’ prolonged and indefinite solitary confinement is causing them severe

            psychological damage, such that mental illness and mental incompetence threaten to

            debilitate them.

      154       The lack of exercise, lack of contact with the outside world, lack of religious

            freedoms, and lack of human contact has further compounded the Plaintiffs’ mental

            anguish, resulting in a wanton and unnecessary infliction of pain by Defendants.

      155       Defendants have arbitrarily and capriciously denied Plaintiffs adequate exercise.

      156       Usually, the Plaintiffs are allowed outdoor exercise only twice a week, one hour

            at a time.

      157       In the past, these Defendants, and their agents, have prohibited any outdoor

            exercise for as long as two months.

      158       When denied outdoor exercise, Defendants have not provided indoor exercise.

      159       On the limited occasions when Defendants or their agents, have afforded

            Plaintiffs exercise, they require them to exercise in individual 10’ x 10’ dog-kennel-

            like cages with a chain-link fence on all sides, inside a large concrete basin.



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      160    These cages are so restrictive that Plaintiffs can walk no more than approximately

         six steps in any direction.

      161    These conditions of outdoor exercise are sufficiently restrictive so as to deprive

         these plaintiffs of any meaningful opportunity to exercise.

      162    Plaintiffs are not permitted access to direct sunlight during outdoor exercise.

      163    On the few days they are offered outside exercise, it is only in the very early

         morning hours.

      164    At this time, the sun is so low that direct sunlight does not reach above the walls

         of the concrete basin in which Plaintiffs are confined, thus preventing them from ever

         experiencing direct sunlight.

      165    Each of the Plaintiffs suffers from a substantial risk of serious harm to their

         physical and mental well-being as a result of insufficient opportunities for exercise.

      166    The indefinite length of Plaintiffs’ solitary confinement and other conditions

         described above deprive Plaintiffs of basic life necessities, resulting in the infliction

         of cruel and unusual punishment.

                                         CAUSES OF ACTION

                                                Claim 1

                       DEFENDANTS ACTIONS VIOLATED PLAINTIFFS’
                     FIRST AMENDMENT RIGHT TO PRACTICE RELIGION

      167    Plaintiffs reallege and incorporate Paragraphs 1 – 166.

      168    The First Amendment to the United States Constitution allows the free exercise of

         religion.

      169    Plaintiffs have sincerely held beliefs in the religion of Islam.

      170    Defendants have violated Plaintiffs’ First Amendment rights as described above.

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                                              Claim 2

                  DEFENDANTS ACTIONS VIOLATED PLAINTIFFS’
             RIGHT TO PRACTICE RELIGION IN ACCORANCE WITH RFRA

      171    Plaintiffs reallege and incorporate Paragraphs 1 – 166.

      172    The Religious Freedom Restoration Act (RFRA) forbids the substantial burden of

         religious exercise without compelling justification.

      173    As described above, Defendants have substantially burdened the exercise of

         Plaintiffs’ religion.

                                              Claim 3

                      DEFENDANTS RESTRICTIONS ON PLAINTIFFS’
                       RELIGIOUS PRACTICES ARE IN VIOLATION
                         OF THE EQUAL PROTECTION CLAUSE

      174    Plaintiffs reallege and incorporate Paragraphs 1 – 166.

      175    The Equal Protection Clause requires the equal treatment of similarly situated

         persons.

      176    Defendants do not allow Plaintiffs the same religious practice opportunities they

         do non-Muslims in the same circumstances.

      177    Defendants’ failures to allow Plaintiffs religious access commensurate with

         similarly situated prisoners at ADX is a violation of the Equal Protection clause.

                                              Claim 4

             DEFENDANTS VIOLATED PLAINTIFFS’ LIBERTY INTERESTS
             NOT TO BE SUBJECTED TO AN ATYPICAL AND SIGNIFICANT
               HARDSHIP IN RELATION TO ORDINARY PRISON LIFE.

      178    Plaintiffs reallege and incorporate Paragraphs 1 – 166.

      179    Under the Fifth Amendment to the United States Constitution, Plaintiffs may not

         be deprived of a liberty interest without due process of law.

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      180      Plaintiffs’ placement in segregation began on September 11, 2001 and has

            continued through the filing of this amended consolidated complaint, and will

            continue into the future with no date set for its determination. Jordan v. Federal

            Bureau of Prisons, 191 F.3d 639, 649 (10th Cir. 2006), citing Giano v. Selsky, 238

            F.3d 223, 226 (2nd Cir. 2001) (considering total aggregate period of administrative

            detention, given two periods of confinement at different facilities were based on the

            same administrative rationale).

      181      This confinement in segregation for over six years has created an atypical and

            significant hardship in comparison to the ordinary prison life of the general

            populations where Plaintiffs were removed from. See Estate of DiMarco v. Wyoming

            Dept. of Corrections, Div. Of Prisons, 473 F.3d 1334 (10th Cir. 2007) (comparison of

            segregation to conditions in general population in determining whether atypical and

            significant hardship imposed; “She had access to the basic essentials of life, although

            her access to certain amenities was more limited than the general population.” Id. at

            1343.)

      182      Further, Plaintiffs have never been told by the Defendants why they were

            removed from general population and have been kept confined in segregation for over

            six years.

      183      None of the Plaintiffs were told why they were removed from general population;

            were given a hearing as why they were removed from general population; were told

            or given a hearing as to why they were moved from one segregation unit to the

            segregation unit at ADX; nor were they given reasons for such placements so that

            they could appeal this indefinite segregation.



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      184      Plaintiffs have been subjected to an atypical and significant hardship based upon

            their being confined in segregation for over six years. Trujillo v. Williams, 465 F.3d

            1210, 1225 (10th Cir. 2006) (whether 750 days in segregation imposed atypical and

            significant hardship in relation to the ordinary incidents of prison life); Gaines v.

            Stenseng, 292 F.3d 1222 (10th Cir. 2002) (remanded for court to determine whether

            75 days confinement in disciplinary segregation is atypical).

      185      Plaintiffs claim a liberty interest as to their placement in segregation due to their

            ethnicities and/or their criminal convictions after being imprisoned for approximately

            seven years and having not violated prison rules.

      186      Plaintiffs claim a liberty interest as to their indefinite placements in segregation

            when other prisoners have not been placed in indefinite segregation based upon their

            ethnicities and/or criminal convictions.

      187      Defendants’ transfer of Plaintiffs to segregation was done in an arbitrary and

            capricious manner since they have never been told the basis for such transfers so that

            they could defend against it.

      188      Defendants failed to provide the Plaintiffs with due process as to their being

            removed from general population, being confined indefinitely in segregation and for

            denying step-down for failure to mitigate the reasons for placement in segregation

            when they never were told why.

      189      The placement of two of the Plaintiffs in the Step-Down Unit Program does not

            moot their claims since Plaintiffs are alleging that there were no justifiable reasons

            for removing them from general population in the first place and then to continuing to

            confine them in indefinite segregation.



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      190   For all of the reasons stated above, Plaintiffs had a liberty interest not to be

         removed from general population and placed in segregation when they were not

         violent inmates, such as the plaintiffs in Wilkinson, nor being subjected to disciplinary

         confinement, such as the plaintiff in Sandin.

      191   For all of the reasons stated above, Plaintiffs had a liberty interest not to be kept

         confined indefinitely in segregation when the conditions imposed an atypical and

         significant hardship on the ordinary incidents of prison life, such confinement will

         impact on their parole eligibilities, and they are placed their indefinitively.

                                                 Claim 5

                  PLAINTIFFS HAD A LIBERTY INTEREST NOT BE
                 DENIED STEP-DOWN FOR FAILURE TO MITIGATE
              THE REASONS FOR THEIR PLACEMENT IN SEGREGATION.

      192   Plaintiffs reallege and incorporate Paragraphs 1 – 166.

      193   Defendants denied step-down to the Plaintiffs for failure to mitigate the reasons

         for their placement in segregation.

      194   Since Plaintiffs were never told the reasons for their placement in segregation,

         they could not challenge that denial.

      195   Defendants’ delays and failure in placing Plaintiffs in the Step Down Unit

         program implicates a liberty interest in transitioning out of ADX.

      196   Defendants denied Plaintiffs due process when they continued to confine

         Plaintiffs in ADX without meaningful rights to participate in the decision-making

         processes regarding their placements in the Step Down Unit Program.

      197   In denying Plaintiffs placement in the Step Down Unit program, Defendants and

         their agents acted in an arbitrary and capricious manner.



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                                                Claim 6

                    DEFENDANTS SUBJECTED THE PLAINTIFFS TO A
                  VIOLATION OF THEIR EIGHTH AMENDMENT RIGHTS

      198    Plaintiffs reallege and incorporate Paragraphs 1 – 166.

      199    The Eighth Amendment to the United States Constitution forbids cruel and

          unusual punishment.

      200    Plaintiffs’ indefinite solitary confinement constitutes cruel and unusual

          punishment when it impacts on their mental health.

      201    In limiting Plaintiffs access to sunlight and fresh air, and by limiting their

          opportunities for exercise to sporadic and infrequent exercise within 10’ by 10’ cages,

          Defendants have deprived Plaintiffs of the minimal civilized measure of life’s

          necessities and exposed them to serious physical and mental harm.

      202    By subjecting Plaintiffs to such conditions, with knowledge of the dangers that

          such conditions pose, Defendants have acted, and continue to act, with deliberate

          indifference and subject Plaintiffs to cruel and unusual punishment.

      203    The indefinite length of Plaintiffs’ solitary confinement and other conditions

          described above deprive Plaintiffs of basic life necessities, resulting in the infliction

          of cruel and unusual punishment.

                                           Prayer for Relief

      Wherefore, Plaintiffs respectfully request this Court grant the following relief:

      A        Plaintiffs are entitled to a declaration that the challenged policies and practices

      denying Plaintiffs their rights to practice their religious beliefs violate the First

      Amendment to the United States Constitution and the Religious Freedom Restoration Act

      and as a permanent injunction against these restrictions.

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      B        Plaintiffs are entitled to a declaration that the challenged policies and practices

      denying Plaintiffs rights to practice their religious beliefs in a commensurate manner with

      similarly situated non-Muslim prisoners violate the Fifth Amendment to the United States

      Constitution and request that a permanent injunction be issued against these violations.

      C        Plaintiffs are entitled to a declaratory judgment that Defendants have deprived

      them of a liberty interest without due process of law in their placement in indefinite

      segregation and a permanent injunction to return them to their former status.

      D        Plaintiffs are entitled to a declaratory judgment that Defendants have deprived

      them of a liberty interest without due process of law in their continued delays and denials

      of participation in the decision-making process regarding their placements in the Step-

      Down Program, as well a permanent injunction to give them proper credit for such

      arbitrary and capricious denial of entry into the Step Down program.

      E        Plaintiffs are entitled to a declaratory judgment that Defendants’ policies and

      practices subjecting Plaintiffs to prolonged and indefinite solitary confinement, along

      with little exercise, which both conditions impacting on their mental health, violates the

      Eighth Amendment and a permanent injunction against these practices.

      F        Plaintiffs also request the Court grant them their reasonable attorney’s fees,

      expenses and costs.

      H        Plaintiffs also request any additional or alternative relief as may be just, proper,

      and equitable.




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      Dated: November 23, 2007.

      Respectfully submitted,

      STUDENT LAW OFFICE

      s/ Daniel Manville
      Daniel Manville
      University of Denver Sturm College of Law
      2255 East Evans Avenue, Suite 335
      Denver, CO 80208
      Tel: 303-871-6140
      Fax: 303.871.6847
      Email: dmanville@law.du.edu
      Counsel for Plaintiffs


                                CERTIFICATE OF SERVICE (CM/ECF)

             I hereby certified that on        , I electronically filed the foregoing with the
      Clerk of the Court using the ECF system which will serve a copy of the foregoing on the
      following: Michael C. Johnson and Marcy Cook, Attorneys for the Defendants, United
      States Attorney’s Office, 1225 Seventeenth St., Ste. 700, Denver, Colorado 80202.

                                   /s/Daniel E. Manville
                                   Daniel E. Manville




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